       Case 8:25-cr-00006-LKG           Document 67         Filed 02/13/25      Page 1 of 10



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
       v.                                         *    CRIMINAL NO. LKG-25-6
                                                  *
THOMAS C. GOLDSTEIN,                              *
                                                  *
             Defendant                            *
                                               *******


                   DEFENDANT THOMAS C. GOLDSTEIN’S
          CONSOLIDATED OPPOSITION TO MOTION TO STRIKE AND
     REPLY IN SUPPORT OF MOTION TO REVIEW CONDITIONS OF RELEASE
             AND TO LIMIT SCOPE OF FORFEITURE ALLEGATION

       As the government knows from its lengthy financial investigation, and as Pretrial

Services has confirmed in its report, defendant Thomas C. Goldstein has a negative net worth.

His principal asset is his equity in the Hawthorne Street house where he and his wife live. Mr.

Goldstein intends to use the equity in the house to fund his defense in this case. The government

has employed multiple tools to make it impossible for him to do so. First it insisted that an

appearance bond be secured by the house. When Mr. Goldstein moved to substitute property

with a greater value, the government filed a bill of particulars specifying that its forfeiture

allegation covered the house — even though the law makes clear that the property itself is not

forfeitable — and filed a lis pendens. When he challenged those actions (ECF No. 30), the

government moved to strike his pleading (ECF No. 32), and then asserted that this Court cannot

review the government’s meritless attempt to forfeit the Hawthorne Street property until after

trial — effectively preventing Mr. Goldstein from using his equity in the property to hire counsel

(ECF No. 34).
       Case 8:25-cr-00006-LKG           Document 67         Filed 02/13/25       Page 2 of 10



       These positions are neither logical nor supported by the law. The government illogically

insists that the Hawthorne Street property simultaneously has no value (because it will be

forfeited) and at the same time argues that this property — alone — is the only asset that will

secure Mr. Goldstein’s appearance. And it incorrectly asserts — again contrary to its usual

position — that it can forfeit the Hawthorne Street property itself rather than the amount of the

mortgage that was taken out after Mr. Goldstein and his wife purchased the home.

       Mr. Goldstein has a Sixth Amendment right to use untainted assets — here, more than

half a million dollars, his share of the portion of the Hawthorne Street property’s value that

exceeds the mortgage amount — to fund his defense. As the Supreme Court has squarely held,

“the pretrial restraint of legitimate, untainted assets needed to retain counsel of choice violates

the Sixth Amendment.” Luis v. United States, 578 U.S. 5, 10 (2016) (plurality opinion). In

forfeiture proceedings in United States v. Mosby, Crim. No. LKG-22-007 (D. Md.), this Court

agreed that the government was not entitled to forfeit a defendant’s untainted contributions to

real property. The government here seeks to evade these precedents through an attenuated claim

that the entire home is “but for” proceeds of mortgage fraud, a claim that fails because the lender

of the earlier loan does not hold an actual security interest in the property.

       To vindicate Mr. Goldstein’s Sixth Amendment right, this Court should permit the use of

the offered substitute collateral and limit the scope of the government’s impermissibly broad bill

of particulars. Substitution of the South Carolina properties would allow Mr. Goldstein to fund

his defense while guaranteeing his appearance — all this in a case where the government (1)

allowed him to self-surrender on the arrest warrant and surrender his passport eleven days after

the indictment, and (2) Pretrial Services recommended only an unsecured appearance bond. Not

only are the South Carolina properties worth more than Mr. Goldstein’s share of the equity in the



                                                  2
       Case 8:25-cr-00006-LKG           Document 67        Filed 02/13/25      Page 3 of 10



Hawthorne Street property, but there is no realistic possibility (as opposed to mere speculation)

that he would strip his father, step-mother, and sister of their principal assets and guaranty his

own arrest and conviction by fleeing.

       Since Mr. Goldstein filed his motion to review his conditions of relief (ECF No. 30),

undersigned counsel have entered their appearances in this case. Counsel entered their

appearances shortly after they learned that Mr. Goldstein had been detained on the government’s

motion — not because they had reached a final agreement with Mr. Goldstein on the terms of

representation, but rather because they could not allow the government’s mistake to leave Mr.

Goldstein in jail, where he would be practically unable to litigate the detention motion pro se.

Earlier today, the Court granted Mr. Goldstein’s motion to revoke the detention order, finding

that the government had failed to prove by clear and convincing evidence that Mr. Goldstein

violated his conditions of release. These events in no way change the fact that Mr. Goldstein

would be unable to pay for his defense without selling the Hawthorne Street property.

       The undersigned counsel have now adopted Mr. Goldstein’s self-filed motion to review

his conditions of release and for other relief (ECF No. 30), which renders moot the government’s

motion to strike (ECF No. 32). On the merits, the Court should grant the relief requested by Mr.

Goldstein.

       I.      THE GOVERNMENT OFFERS NO PLAUSIBLE REASON WHY THE
               SOUTH CAROLINA PROPERTIES ARE NOT SUFFICIENT TO ENSURE
               MR. GOLDSTEIN’S APPEARANCE

       As stated in Mr. Goldstein’s previous submissions, his family is willing to post as

collateral three properties with appraised taxable values of $677,200, $341,500, and $55,900,

respectively, for a total of $1,074,600. See ECF Nos. 18-1, 18-2, 18-3. Because appraised taxable

values are often much lower than present market values, the properties are almost certainly worth



                                                  3
       Case 8:25-cr-00006-LKG           Document 67         Filed 02/13/25      Page 4 of 10



much more than $1.1 million. By contrast, the Hawthorne Street property has an assessed value

of approximately $3.2 million but is subject to an outstanding mortgage of approximately $1.8

million. Of the approximately $1.4 million in equity, half belongs to Mr. Goldstein’s wife, who

by all accounts has an ironclad innocent owner claim to half of the equity. See 21 U.S.C.

§ 853(n).

       In opposing substitution, the government engages in a lengthy rehash of the indictment

and 18 U.S.C. § 3142(g) factors that are equally applicable to all of the available parcels of

collateral. ECF No. 34 at 3-13. It addresses the South Carolina properties in particular only

briefly, arguing first that requiring Mr. Goldstein to post the Hawthorne Street marital residence

“will be more effective in securing his continued appearances than would substituting the South

Carolina properties, which Defendant does not own or live in.” Id. at 5. It claims that “Defendant

is less likely to flee if doing so would result in forfeiture of his marital residence.” Id. The whole

premise of this argument is flawed, however, because Mr. Goldstein’s desire is to sell the

Hawthorne Street property, divide the equity with his wife, and use his share to fund his defense.

       The government later argues that Mr. Goldstein has a stronger “emotional and financial”

connection to the Hawthorne Street property, ECF No. 34 at 11, and that the Court should not

require innocent parties to bear the risk of his non-appearance. Of course, the same is true of the

Hawthorne Street property — an innocent party (his wife) would bear the risk of his non-

appearance. Moreover, it is a regular practice in this Court for third parties to pledge assets to

secure a defendant’s appearance. And in any event, the government’s suggestion that

Mr. Goldstein’s “emotional and financial connection” to the Hawthorne Street property (which

he intends to sell) is stronger than his desire not to see his closest family members rendered

homeless and stripped of their most valuable assets is wholly unfounded.



                                                  4
       Case 8:25-cr-00006-LKG          Document 67        Filed 02/13/25     Page 5 of 10



       Finally, the government suggests substitution of assets is not necessary because

Mr. Goldstein has other assets with which he can pay counsel. ECF No. 34, at 12. The Pretrial

Services Report refutes this notion. It notes that Mr. Goldstein has a negative net worth of more

than $3.3 million, and a negative monthly cash flow. Even if the Court were to look only at the

liquid assets side of his ledger, which showed combined bank accounts of $393,500 as of

January 27, 2025, those funds are not nearly sufficient to fund a defense in this complex case and

still leave Mr. Goldstein a nominal amount for living expenses.1

       As noted above, last Monday, the government arrested Mr. Goldstein on an ex parte

detention order based on the allegation that he was the owner of two cryptocurrency wallets that

he failed to disclose to Pretrial Services. Earlier today, the Court granted Mr. Goldstein’s motion

to revoke the detention order, concluding that the government failed to prove by clear and

convincing evidence that Mr. Goldstein owned either wallet. The evidence set forth in Mr.

Goldstein’s motion clearly established that Mr. Goldstein does not own the wallets. Indeed, on

the morning of the detention hearing, in response to a request from the defense for any

information tending to show that Mr. Goldstein does not own the wallets, the government

disclosed that $2 million was withdrawn from one of the wallets earlier this week, while Mr.

Goldstein was in jail. If the government intends to rely on Magistrate Judge Sullivan’s dictum

that he would have found a violation of Mr. Goldstein’s conditions of release under a

preponderance of the evidence standard, then the defense respectfully requests that the Court

allow the defense to present evidence showing that Mr. Goldstein does not own the wallets,

either at the hearing scheduled for tomorrow or at a later date.




1
        For example, the first tranche of government discovery is approximately 60,000 pages.
Its review alone will eat up a significant portion of Mr. Goldstein’s liquid assets.

                                                 5
       Case 8:25-cr-00006-LKG           Document 67        Filed 02/13/25      Page 6 of 10



       In a case like this one — where Pretrial Services did not request that the defendant post

any kind of secured bond and where the government allowed Mr. Goldstein to make his initial

appearance voluntarily nearly two weeks after the Indictment was returned — the South Carolina

properties are more than sufficient to guarantee his appearance. The Court should permit

substitution.

       II.      THE FORFEITURE ALLEGATION AND BILL OF PARTICULARS
                MUST BE LIMITED TO THE AMOUNT OF THE MORTGAGE ON THE
                HAWTHORNE STREET PROPERTY

       Mr. Goldstein’s motion sets forth an undisputed legal proposition that the Court knows

well from the Mosby case: that because the mortgage loan charged in Count 22 was not directly

used to purchase the Hawthorne Street property, under 18 U.S.C. § 982(a)(2), the only

appropriate forfeiture if Mr. Goldstein is convicted on that count would be a money judgment for

the amount of the mortgage, not forfeiture of the Hawthorne Street property itself. See ECF No.

30 at 8-9.

       The government first posits a procedural objection: that the Court cannot address the

scope or amount of the forfeiture charged in the indictment’s forfeiture allegations or in the bill

of particulars. ECF No. 34 at 13-14. But the unpublished, out-of-circuit district court decisions

cited by the government do not support its position. In those cases, the Court deferred ruling on

factual disputes regarding the connection between the alleged conduct and the property identified

in the forfeiture notice. By contrast, Mr. Goldstein is not raising such a factual dispute. Indeed,

for purposes of this motion, the relevant facts concerning the Hawthorne Street property are

undisputed. Instead, Mr. Goldstein is challenging the government’s legal basis for claiming

forfeiture over property that Mr. Goldstein would otherwise use to fund his defense. Indeed,

none of the nonbinding cases cited by the government considered an argument that the



                                                  6
       Case 8:25-cr-00006-LKG          Document 67        Filed 02/13/25      Page 7 of 10



challenged forfeiture allegation impaired the defendant’s ability to fund their defense. The

government’s novel argument that such a challenge cannot be brought before final disposition of

the case would mean that the Government could claim forfeiture over every piece of a

defendant’s property, crippling the defendant’s ability to fund their defense, and the Court could

not intervene. Such a conclusion is contrary to Luis, where the plurality and concurring opinions

both rejected the dissent’s position that “property — whether tainted or untainted — is subject to

pretrial restraint, so long as the property might someday be subject to forfeiture.” 578 U.S. at 15;

see also id. at 27 (Thomas, J., concurring). Nothing prevents the Court from ruling on Mr.

Goldstein’s legal challenges at this juncture, particularly because doing so would vindicate Mr.

Goldstein’s Sixth Amendment right to counsel.

       On the merits, the government presents a convoluted claim that the Hawthorne Street

property itself constitutes “proceeds” of the offense charged in Count 22. ECF No. 34 at 15-17.

To be clear: the government does not dispute that the proceeds of the loan obtained through the

mortgage application identified in Count 22 of the Indictment were not used to purchase the

Hawthorne Street property, which Mr. Goldstein and his wife already owned at the time they

executed the loan at issue in Count 22. Instead, those proceeds were used to pay off an earlier

loan. The government’s attenuated theory of forfeiture is confusing and almost impossible to

follow: because the purchase of the Hawthorne Street property was initially funded by the earlier

loan, and because the proceeds of the mortgage identified in Count 22 were used to pay off the

earlier loan, had Mr. Goldstein not repaid the earlier lender, the earlier lender would have sued,

which then would have led to a judgment, which could have been enforced against the

Hawthorne Street property. The government cites no case in which a court has upheld such a

tenuous theory of forfeiture. And in any event, the government’s attenuated theory makes no



                                                 7
          Case 8:25-cr-00006-LKG         Document 67         Filed 02/13/25       Page 8 of 10



sense, because the earlier lender does not hold an actual security interest in the property. The

settled legal rule is that the “proceeds” of alleged loan fraud are the loan — full stop — as this

Court ruled in Mosby, holding that the defendant retained her own contributions to the home’s

equity.

          At most, the Hawthorne Street property could theoretically be treated as a substitute

asset. But the government cannot restrain a substitute asset through its lis pendens filing with the

District of Columbia Recorder of Deeds or otherwise. The Fourth Circuit has abandoned its

previous “anomalous rule permitting the pretrial restraint of a defendant’s innocent property

pursuant to the federal criminal forfeiture statute.” United States v. Chamberlain, 868 F.3d 290,

291 (4th Cir. 2017) (en banc). It held in Chamberlain that 21 U.S.C. § 853(e) “permits the

government to obtain a pretrial restraining order over only those assets that are directly subject to

forfeiture as property traceable to a charged offense.” Id. at 298. This limitation on pretrial

restraint includes lis pendens filings. The District of Columbia Council and Court of Appeals

have made clear that a lis pendens authorized by D.C. Code § 42-1207 “shall be effective only if

the underlying action or proceeding directly affects the title to or tenancy interest in, or asserts a

mortgage, lien, security interest, right of first offer, right of first refusal, or other ownership

interest in real property situated in the District of Columbia.” Garcia v. Tygier, 295 A.3d 594,

603 (D.C. 2023) (quoting statute). As discussed above, no such interest exists in this case. Under

21 U.S.C. § 853(p), forfeiture of substitute property cannot occur until after the defendant’s

conviction and a determination by the trial court that the defendant’s act or omission resulted in

the court’s inability to reach § 853(a) assets. See § 853(p)(1)(A)-(E); Fed. R. Crim. P.

32.2(e)(1)(B). The relation-back and protective order provisions in § 853(c) and § 853(e) do not

extend to substitute property: “Unlike the pre-conviction interest the government may claim in



                                                    8
       Case 8:25-cr-00006-LKG           Document 67         Filed 02/13/25      Page 9 of 10



tainted § 853(a) property, § 853(c) thus does not explicitly authorize the United States to claim

any pre-conviction right, title, or interest in § 853(p) substitute property.” United States v. Jarvis,

499 F.3d 1196, 1204 (10th Cir. 2007) (holding that lis pendens notice against substitute property

was improper).

       In sum, if the Court substitutes the South Carolina property for the Hawthorne Street

property, it can and should limit the forfeiture allegation and bill of particulars arising from the

offense charged in Count 22 to a money judgment for $1,987,500, the amount of the mortgage

that Mr. Goldstein and his wife secured on property they already owned. And it should permit

Mr. Goldstein to sell the Hawthorne Street property and use his share of the non-forfeitable

proceeds to fund his defense.

                                          CONCLUSION

       For these reasons, the Court should grant the relief requested in ECF No. 30: (1) amend

Paragraph 8(c) of the conditions of release (ECF No. 6) to substitute the South Carolina

properties for the Hawthorne Street property; and (2) limit the scope of the Bill of Particulars

(ECF No. 21) to the amount of the mortgage on the Hawthorne Street property, $1,987,500. The

Court should also deny the government’s motion to strike (ECF No. 32) as moot.




                                                   9
     Case 8:25-cr-00006-LKG   Document 67    Filed 02/13/25     Page 10 of 10



                                          Respectfully submitted,

                                                 /s/ Jonathan Kravis
                                                 /s/ Stephany Reaves
                                          __________________________
                                          Jonathan I. Kravis
                                          (MD Bar No. 1706220008; motions for
                                             admission pro hac vice and for admission
                                             to D. Md. bar pending)
                                          Stephany Reaves (Bar No. 19658)
                                          MUNGER, TOLLES & OLSON LLP
                                          601 Massachusetts Avenue NW, Suite 500E
                                          Washington, D.C. 20001
                                          (202) 220-1100
                                          Jonathan.Kravis@mto.com
                                          Stephany.Reaves@mto.com

                                          Adeel Mohammadi (pro hac vice)
                                          MUNGER, TOLLES & OLSON LLP
                                          350 S. Grand Ave., 50th Floor
                                          Los Angeles, CA 90071
                                          (213) 683-9100
                                          Adeel.Mohammadi@mto.com

                                          Attorneys for Defendant Thomas Goldstein

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                                     10
